                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION



THE HOSPITAL AUTHORITY OF                   Civil Action No. 3:15-cv-01100
METROPOLITAN GOVERNMENT OF
NASHVILLE AND DAVIDSON COUNTY,              Chief Judge Waverly D. Crenshaw, Jr.
TENNESSEE, d/b/a NASHVILLE GENERAL          Magistrate Judge Barbara D. Holmes
HOSPITAL and AMERICAN FEDERATION OF
STATE, COUNTY AND MUNICIPAL
EMPLOYEES DISTRICT COUNCIL 37
HEALTH & SECURITY PLAN,

               Plaintiffs,

v.

MOMENTA PHARMACEUTICALS, INC. and
SANDOZ INC.,

               Defendants.


      DECLARATION OF BRENDAN P. GLACKIN IN SUPPORT OF PLAINTIFFS’
           UNOPPOSED MOTION TO DIRECT NOTICE TO THE CLASS
                       REGARDING SETTLEMENT




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            I, Brendan P. Glackin, hereby declare and state as follows:

            1.     I am an attorney duly licensed to practice law in the State of California and

admitted pro hac vice to practice in this Court. I am a partner at the law firm Lieff Cabraser

Heimann & Bernstein, LLP (“Lieff Cabraser”), Court-appointed Class Counsel in this action. I

make this Declaration in support of Plaintiffs’ Unopposed Motion to Direct Notice to the Class

Regarding the Settlement. The matters described are based on my personal knowledge, and if

called as a witness, I could and would testify competently thereto.

Settlement Agreements

            2.     Plaintiffs The Hospital Authority of Metropolitan Government of Nashville and

Davidson County (“Nashville General”) and American Federation of State, County and

Municipal Employees District Council 37 Health and Security Plan (“DC 37”) and Defendants

Momenta Pharmaceuticals, Inc. (“Momenta”) and Sandoz Inc. (“Sandoz”) reached an agreement

in principle to settle this action on November 13, 2019, following an all-day mediation session

conducted by retired Judge Edward Infante.

            3.     Attached hereto as Exhibit A is a true and correct copy of the settlement

agreement between Plaintiffs and Momenta Pharmaceuticals, Inc. (“Momenta Settlement

Agreement”), executed December 10, 2019.

            4.     Attached hereto as Exhibit B is a true and correct copy of the settlement

agreement between Plaintiffs and Sandoz Inc. (“Sandoz Settlement Agreement”), executed

December 10, 2019 (together with the Momenta Settlement Agreement, the “Settlement

Agreements”).

            5.     The Settlement Agreements were the products of arm’s-length negotiations

among experienced and well-informed counsel. The negotiations were contested and conducted


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in the utmost good faith. Despite reaching an agreement in principle on November 13, 2019,

counsel on both sides bargained intensely over the collateral terms of the agreements, including

the mechanics of Momenta’s delayed payment, and the termination threshold and method for

calculating exclusions. Those negotiations included calls and exchanges of drafts on weekends.

            6.   The Settlement Agreements provide that in return for cash payments of $35

million from Momenta and $85 million from Sandoz, the Class will release certain claims

against Defendants relating to “both (1) any purchase, payment, or reimbursement for enoxaparin

or Lovenox® up through September 30, 2015, and (2) any agreement, combination or conspiracy

to raise, fix, maintain or stabilize the price of generic enoxaparin or Lovenox®, monopolization,

or any other conduct alleged in the Action or relating to restraint of competition . . . .”1 The

releasing Class members are the same as those of the class certified on September 20, 2019.

Recommended Plan of Distribution

            7.   Attached hereto as Exhibit C is the proposed distribution plan. The distribution

plan apportions the settlement fund between the retail and non-retail channels, and within those

channels between Lovenox and generic enoxaparin purchases, based on each category’s share of

the class wide damages.2 It also apportions the fund, in each channel, between claims based on

Lovenox® and claims based on generic enoxaparin. Separate claim forms will be submitted for

each category of Class member (hospitals, third-party payors, and people without insurance), and

claimants will be paid on a pro rata basis based on dollar value of purchases net of rebates,

refunds, discounts, and other appropriate offsets. If there are extra funds in any category




1
  Sandoz Settlement Agreement ¶ 1(v); Momenta Settlement Agreement ¶1(v) (“Released
Claims”). The terms of the release are set forth fully in the settlement agreements.
2
  Declaration of Russell L. Lamb (“Lamb Decl.”) ¶¶ 2-4.


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(because the allocated funds exceed claims in that category), the extra funds will roll over to the

other categories.

Class Representatives’ and Counsel’s Vigorous Advocacy on Behalf of the Class

            8.    A great deal of discovery between the parties has taken place. Plaintiffs served

Defendants with 34 interrogatories (17 to each Defendant) and 60 document requests. Following

an initial production of documents from the related patent action, Plaintiffs negotiated with

Defendants for production of additional relevant documents from a total of 30 current and former

employees of Defendants. In addition, Plaintiffs issued six subpoenas to non-parties, including

the USP, distributors, and other enoxaparin manufacturers.

            9.    Plaintiffs conducted negotiations with Defendants and non-parties regarding the

production of documents and transactional data, the identification of document custodians, the

use of search terms, the completeness of discovery responses, and deposition scheduling. In

total, Plaintiffs received and reviewed more than half a million documents (more than 2.6 million

pages) produced by Defendants and third parties, and reviewed and produced nearly 17,000

themselves.

            10.   Plaintiffs took or defended a total of 36 fact and expert witness depositions in the

case. Plaintiffs deposed ten fact witnesses of Defendants and third parties between May and

October 2019. Plaintiffs also analyzed more than 50 deposition transcripts taken in the related

Massachusetts actions between Defendants and Amphastar, and reviewed two weeks’ worth of

testimony from the patent trial.

            11.   Plaintiffs brought five discovery disputes and won nearly all of them. This work

included successfully (i) obtaining expert reports from related litigation; (ii) securing discovery

in response to Defendants’ position that for certain claims the Court had no personal jurisdiction



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over them; (iii) withdrawing responses to requests for admission that were based on an

inoperative class definition, and that Plaintiffs sought to preclude from being used to mislead the

jury; (iv) persuading the Court to lift the stay on merits discovery before the Class had been

certified, and requiring Defendants to engage in good-faith negotiations that resulted in extensive

document production; and (v) initiating in camera review of Defendants’ purportedly privileged

documents after pointing out the deficiencies in their privilege logs. Plaintiffs also successfully

beat back almost every discovery motion filed by Defendants.

            12.    Plaintiffs also filed two class certification motions, both with evidentiary

hearings, the second on a demanding schedule. At both hearings, witnesses from Plaintiff

Nashville General Hospital offered testimony to advance Plaintiffs’ theory of pass-through,

which the Court ultimately credited. Documents that Nashville General had produced also

advanced the Class’s interest, showing the disconnect between hospital drug purchases and

patient billing.

            13.    At the merits stage, Plaintiffs’ counsel retained six experts:

                   a.     a chemist to explain what enoxaparin is;

                   b.     a cardiologist—the only one in the case—to explain its function and

uniqueness;

                   c.     a former vice president of the U.S. Pharmacopeia (“USP”), the

organization Defendants allegedly deceived, to testify to how they had subverted that

organization’s rules;

                   d.     a former FDA commissioner to explain why Amphastar reasonably

understood that it had to follow the standard adopted by the USP, leading to Defendants’ lawsuit

to block it from the market;



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                   e.      an economist to analyze the antitrust impact and damages of Defendants’

conduct; and

                   f.      a healthcare industry expert to explain how harm would be absorbed in the

different channels in which enoxaparin is sold.

            In total, Plaintiffs’ six experts prepared 17 expert reports in the case, totaling 723 pages.

            14.    Defendants retained seven merits experts (besides Dr. Cremieux), all of whom

Plaintiffs’ counsel deposed.

            15.    Altogether, including Dr. Lamb who was deposed twice, there were 15 expert

depositions and 31 expert reports, resulting in 1,395 pages of substantive testimony.

Notice and Claims Administration

            16.    To select a notice and claims administrator, Plaintiffs conducted a competitive

bidding process with four administrators. Having considered the competing bids, Plaintiffs

selected A.B. Data, Ltd. (“A.B. Data”), whose proposal represented the most cost-effective,

efficient, and comprehensive plan, which Plaintiffs believe provides the best value for the Class.

A.B. Data’s proposed budget for notice and claims administration is approximately $436,000.


Active Involvement of Class Representatives

            17.    Nashville General and DC 37, Class Representatives in this action, have no

interests in conflict with those of the Class, have been actively involved in the litigation of this

case, and have each reviewed and approved the terms of the proposed Settlement Agreements.

            18.    Five witnesses for Nashville General sat for a total of seven depositions in the

case. Two Nashville General witnesses testified in court at the class certification evidentiary

hearings, held in May and July 2019. In addition, Nashville General responded to 54 requests

for production of documents and 18 interrogatories, and produced a total of 14,071 documents


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(89,248 pages) as well as purchase and payment data from 2010 through 2018. Nashville

General’s in-house counsel, Marc Overlock, routinely attended hearings in this action, and

personally participated in two mediation sessions with Judge Infante, in July and November

2019.

            19.   Two witnesses from DC 37 were each deposed twice in the matter, once in their

30(b)(6) capacity and again in their personal capacity. DC 37 responded to 42 requests for

production and 11 interrogatories, as well as searched for and produced 2,601 documents (24,727

pages). DC 37 also produced complete payment data reflecting purchases of enoxaparin and

Lovenox for the period 2011 through 2016. DC 37’s counsel, Audrey Browne, attended the class

certification hearing in May and personally participated in the successful November mediation

with Judge Infante.3


Attorney’s Fees, Costs, and Expenses

            20.   Through December 13, 2019, counsel has recorded a total lodestar of

approximately $12,710,816.50, covering approximately 26,609.4 hours of work. This lodestar is

calculated based on counsel’s current hourly rates as of 2019. It will be further audited prior to

submission of the motion for attorneys’ fees. The motion will also include detailed support for

Class Counsel’s rates and billing practices.

            21.   Through December 13, 2019, Plaintiffs have incurred approximately

$2,139,177.38 million in costs and expenses. This figure includes at least the following

estimated expenses: approximately $1,742,050.27 for expert and consultant costs; $130,629.06

for court reporter and other deposition-related costs; $5,090.00 for filing fees and process


3
 Due to a family medical issue, Ms. Browne could not attend the July mediation and July class
certification hearing in person. She participated telephonically in the July mediation.


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service; $124,074.23 for delivery, mail, telephone, print and photocopy costs; $59,555.25 for

travel costs; $17,025.00 for mediation costs; $35,081.25 for research costs; and $25,570.32 for

other costs.

            I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

            Executed on this 20th day of December, 2019, at San Francisco, California.



                                                 By:      /s/ Brendan P. Glackin
                                                          BRENDAN P. GLACKIN




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                   EXHIBIT A




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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


THE HOSPITAL AUTHORITY OF
METROPOLITAN GOVERNMENT OF
NASHVILLE AND DAVIDSON COUNTY,
TENNESSEE, d/b/a NASHVILLE GENERAL
HOSPITAL and AMERICAN FEDERATION OF
STATE, COUNTY AND MUNICIPAL
EMPLOYEES DISTRICT COUNCIL 37 HEALTH         Civil Action No. 15-cv-01100
& SECURITY PLAN,

               Plaintiffs,                   Chief Judge Waverly D. Crenshaw, Jr.
                                             Magistrate Judge Barbara D. Holmes
                   v.

MOMENTA PHARMACEUTICALS, INC. and
SANDOZ INC.,

               Defendants.



                             SETTLEMENT AGREEMENT




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          This Settlement Agreement (hereinafter, “Agreement”) is made and entered into as of the

10th day of December 2019, by and between Defendant Momenta Pharmaceuticals, Inc.

(“Defendant”), and Plaintiffs, both individually and on behalf of the Class in the above-captioned

class action. This Agreement is intended by the Settling Parties to fully, finally and forever

resolve, discharge and settle the Released Claims, upon and subject to the terms and conditions

hereof.

                                          RECITALS
          WHEREAS, Plaintiffs are prosecuting the above-captioned litigation on their own behalf

and on behalf of the Class against Defendant;

          WHEREAS, Plaintiffs allege, among other things, that Defendant violated certain state

antitrust laws and state consumer protection laws by restraining competition in the market for,

and engaging in conduct that led to raising the prices of, generic enoxaparin and Lovenox®, and

these acts caused the Class to incur significant damages;

          WHEREAS, Defendant has denied and continues to deny each and all of the claims and

allegations of wrongdoing made by the Plaintiffs in the Action; all charges of wrongdoing or

liability against it arising out of any of the conduct, statements, acts or omissions alleged, or that

could have been alleged, in the Action; and the allegations that the Plaintiffs or any member of

the Class were harmed by any conduct by Defendant alleged in the Action or otherwise;

          WHEREAS, Plaintiffs, individually and on behalf of the Class, and Defendant agree that

neither this Agreement nor any statement made in the negotiation thereof shall be deemed or

construed to be an admission or evidence of any violation of any statute or law or of any liability

or wrongdoing by Defendant or of the truth of any of the claims or allegations alleged in the

Action;

          WHEREAS, arm’s length settlement negotiations have taken place between Defendant

and Class Counsel, and this Agreement, which embodies the terms and conditions of the

Settlement between the Settling Parties, has been reached (subject to the approval of the Court)


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as provided herein and is intended to supersede any prior agreements between the Settling

Parties;

         WHEREAS, Class Counsel have concluded, after due investigation and after carefully

considering the relevant circumstances, including, without limitation, the claims asserted in the

Plaintiffs’ Amended Complaint, the legal and factual defenses thereto and the applicable law,

that it is in the best interests of the Plaintiffs and the Class to enter into this Agreement to avoid

the uncertainties of litigation and to ensure that the benefits reflected herein are obtained for the

Plaintiffs and the Class, and, further, that Class Counsel consider the Agreement set forth herein

to be fair, reasonable and adequate and in the best interests of the Plaintiffs and the Class; and

         WHEREAS, Defendant, despite its belief that it is not liable for the claims asserted

against it in the Action and that it has good defenses thereto, has nevertheless agreed to enter into

this Agreement to avoid the further expense, inconvenience and distraction of burdensome and

protracted litigation, and thereby to put to rest this controversy with respect to the Plaintiffs and

the Class and avoid the risks inherent in complex litigation.

                                        AGREEMENT
         NOW, THEREFORE, in consideration of the foregoing, the terms and conditions set

forth below and other good and valuable consideration herein, it is hereby stipulated and agreed

by and among the Settling Parties, by and through their attorneys of record, that, subject to the

approval of the Court, the Action and the Released Claims as against Defendant and all other

Releasees shall be finally and fully settled, compromised and dismissed on the merits and with

prejudice upon and subject to the terms and conditions of this Agreement, as follows:

         A.     Definitions
         1.     As used in this Agreement the following terms have the meanings specified

below:




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               a.      “Action” means The Hospital Authority of Metropolitan Government of

Nashville and Davidson County, Tennessee, et al. v. Momenta Pharmaceuticals, Inc. et al., Case

No. 15-cv-01100 (M.D. Tenn.).

               b.      “Affiliates” means entities controlling, controlled by or under common

control with a Releasee or Releasor.

               c.      “Authorized Claimant” means any Class Member who, in accordance with

the terms of this Agreement, is entitled to a distribution consistent with any Distribution Plan or

order of the Court.

               d.      The “Class” is defined as follows:

               Hospitals, third-party payors, and people without insurance who
               indirectly purchased, paid for, and/or reimbursed some or all of the
               purchase price for, generic enoxaparin or Lovenox®, in Arizona,
               Arkansas, California, District of Columbia, Florida, Hawaii,
               Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan,
               Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada,
               New Hampshire, New Mexico, New York, North Carolina, North
               Dakota, Oregon, South Dakota, Tennessee, Utah, Vermont, West
               Virginia, and Wisconsin, from September 21, 2011, through
               September 30, 2015 (the “Class Period”), for the purpose of
               personal consumption by themselves, their families, or their
               members, employees, insureds, participants, patients, beneficiaries
               or anyone else.

               With respect to third-party payors and people without insurance,
               the Class only includes those, described above, who purchased,
               paid for, and/or reimbursed some or all of the purchase price for,
               generic enoxaparin or Lovenox® from a pharmacy.
               Excluded from the Class are:

               a)      Defendants, their officers, directors, management, employees,
                       subsidiaries, and affiliates;

               b)      Federal and state governmental agencies except for cities, towns,
                       municipalities, counties or other municipal government entities, if
                       otherwise qualified;

               c)      Payors that received 100% reimbursement on all transactions, such
                       as fully insured health plans (i.e., plans that purchased insurance
                       covering 100% of their reimbursement obligation to members);

               d)      Third-party payors and people without insurance who purchased,


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                       or paid or reimbursed only for branded Lovenox®, and not generic
                       enoxaparin, from a pharmacy or other retail outlet; and

               e)      Judges assigned to this case and any members of their immediate families.

For purposes of this agreement, the term “Class” does not include persons that timely and validly

opted out of the class previously certified by the Court (Dkts. 426, 427, 464) (the “Certified

Class”) on or before December 19, 2019.

               e.      “Class Counsel” means the law firm of Lieff Cabraser Heimann &

Bernstein, LLP.

               f.      “Class Member” means a person or entity that falls within the definition of

the Class, ¶ 1(d).

               g.      “Court” means the United States District Court for the Middle District of

Tennessee.

               h.      “Distribution Plan” means any plan or formula of allocation of the Gross

Settlement Fund, to be approved by the Court, whereby the Net Settlement Fund shall in the

future be distributed to Authorized Claimants. Any Distribution Plan is not part of this

Agreement.

               i.      “Effective Date” means the first date by which all of the events and

conditions specified in ¶ 28 of this Agreement have occurred and have been met.
               j.      “Escrow Agent” means the agent jointly designated by Class Counsel and

Defendant, and any successor agent.

               k.      “Execution Date” means the date of the last signature set forth on the

signature pages below.

               l.      The word “Final” means, when used to describe the status of any order of

a court, including, without limitation, the Judgment, that such order represents a final and

binding determination of all issues within its scope and is not subject to further review on appeal

or otherwise. Without limitation, an order becomes “Final” when: (a) no appeal has been filed



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and the prescribed time for commencing any appeal has expired; or (b) an appeal has been filed

and either (i) the appeal has been dismissed and the prescribed time, if any, for commencing any

further appeal has expired, or (ii) the order has been affirmed in its entirety and the prescribed

time, if any, for commencing any further appeal has expired. For purposes of this Agreement, an

“appeal” includes appeals as of right, discretionary appeals, interlocutory appeals, proceedings

involving writs of certiorari or mandamus, and any other proceedings of like kind. Any appeal or

other proceeding pertaining solely to any order adopting or approving a Distribution Plan, and/or

to any order issued with respect to an application for attorneys’ fees and expenses consistent with

this Agreement, shall not in any way delay or preclude the Judgment from becoming Final.

               m.      “Gross Settlement Fund” means the Settlement Amount plus any interest

that may accrue.

               n.      “Plaintiffs” means The Hospital Authority of Metropolitan Government of

Nashville and Davidson County, Tennessee, and American Federation of State, County and

Municipal Employees District Council 37 Health & Security Plan.

               o.      “Judgment” means the order of judgment and dismissal of the Action with

prejudice.

               p.      “Net Settlement Fund” means the Gross Settlement Fund, less the

payments set forth in ¶ 19(a)-(d).

               q.      “Notice and Administrative Costs” means the reasonable sum of money

not in excess of four hundred thousand U.S. Dollars ($400,000) to be paid out of the Gross

Settlement Fund to pay for notice to the Class and related administrative costs.

               r.      “Notice and Claims Administrator” means the claims administrator(s) to

be selected by Class Counsel and approved by the Court.

               s.      “Person(s)” means an individual, corporation, limited liability corporation,

professional corporation, limited liability partnership, partnership, limited partnership,

association, joint stock company, estate, legal representative, trust, unincorporated association,


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government or any political subdivision or agency thereof, and any business or legal entity and

any spouses, heirs, predecessors, successors, representatives or assignees of any of the foregoing.

               t.      “Proof of Claim and Release” means the form to be provided to the Class,

upon further order(s) of the Court, by which Class Members may make claims against the Gross

Settlement Fund.

               u.      With respect to third-party payors and people without insurance,

“purchase of, payment for or reimbursement for generic enoxaparin or Lovenox®” means

purchase of, payment for or reimbursement for some or all of the purchase price for generic

enoxaparin or Lovenox® from a pharmacy.

               v.      “Released Claims” means any and all manner of claims, demands, rights,

actions, suits, causes of action, lawsuits, proceedings, judgments, losses, liabilities, fees

(including attorneys’ fees and the fees of expert witnesses), costs, penalties, injuries, or damages

of any kind whatsoever, whether class, individual or otherwise in nature, whenever incurred,

known or unknown (including, but not limited to, “Unknown Claims”), foreseen or unforeseen,

suspected or unsuspected, asserted or unasserted, contingent or non-contingent, accrued or

unaccrued, in law or in equity, under the laws of any jurisdiction, which Releasors or any of

them, whether directly, representatively, derivatively, or in any other capacity, ever had, now

have or hereafter can, shall or may have, relating in any way to any conduct prior to the date of

this Agreement and arising out of or related in any way in whole or in part to any facts,

circumstances, acts or omissions arising out of or related to both: (1) any purchase, payment or

reimbursement for generic enoxaparin or Lovenox® up through September 30, 2015, and (2) any

agreement, combination or conspiracy to raise, fix, maintain or stabilize the price of generic

enoxaparin or Lovenox®, monopolization, or any other conduct alleged in the Action or relating

to restraint of competition that could have been or hereafter could be alleged against the

Releasees relating to generic enoxaparin or Lovenox®. For avoidance of doubt, “Released




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Claims” do not include claims excluded from release under ¶ 10 of this Agreement (“Claims

Excluded from Release”).

               w.      “Releasees” means Defendant and its former, present and future direct and

indirect parents, subsidiaries and Affiliates, and their respective former, present and future

officers, directors, employees, managers, members, partners, agents, shareholders (in their

capacity as shareholders), attorneys and legal representatives, and the predecessors, successors,

heirs, executors, administrators and assigns of each of the foregoing.

               x.      “Releasors” means the Plaintiffs and each and every Class Member on

their own behalf and on behalf of their respective former, present and future direct and indirect

parents, subsidiaries and Affiliates, and their respective former, present and future officers,

directors, employees, managers, members, partners, agents, shareholders (in their capacity as

shareholders), attorneys and legal representatives, and the predecessors, successors, heirs,

executors, administrators and assigns of each of the foregoing.

               y.      “Settlement” means the settlement of the Released Claims set forth herein.

               z.      “Settlement Amount” means thirty-five million U.S. Dollars

($35,000,000), to be paid in three installments as set forth in ¶ 11 below.

               aa.     “Settling Parties” means, collectively, Defendant and the Plaintiffs (on

behalf of themselves and the Class).

               bb.     “Unknown Claims” means any Released Claim that a Plaintiff and/or

Class Member does not know or suspect to exist in his, her or its favor at the time of the release

of the Releasees that if known by him, her or it, might have affected his, her or its settlement

with and release of the Releasees, or might have affected his, her or its decision not to object to

this Settlement. Such Unknown Claims include claims that are the subject of California Civil

Code § 1542 and equivalent, similar or comparable laws or principles of law. California Civil

Code § 1542 provides:

               A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS


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                THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
                OR RELEASED PARTY.

        B.      Notice and Approval
        2.      Reasonable Best Efforts to Effectuate This Settlement. The Settling Parties:

(a) acknowledge that it is their intent to consummate this Agreement; and (b) agree to cooperate

to the extent reasonably necessary to effectuate and implement the terms and conditions of this

Agreement and to exercise their best efforts to accomplish the terms and conditions of this

Agreement.

        3.      Request to Vacate Deadlines. Within two days after the Execution Date, the

Settling Parties will jointly request that the Court enter an order: (1) vacating the trial date, and to

the extent the Court has not already done so, vacating all pre-trial deadlines; and (2) staying all

further discovery and any other proceedings not related to the Court’s consideration of whether

this Agreement and Settlement should be communicated to the Class and ultimately approved.

The Settling Parties will continue to work cooperatively to complete and submit promptly to the

Court for approval such additional documentation as may be necessary for the Court to

determine whether this Agreement and Settlement should be communicated to the Class and

ultimately approved.

        4.      Notice to the Class.

                a.      Class Counsel shall move for entry of an order directing notice to the class

(“Notice Order”). Class Counsel shall also submit to the Court for approval a proposed form of,

method for, and schedule for dissemination of notice to the Class. The motion to direct notice to

the Class shall recite and ask the Court to find that the proposed form of and method for

dissemination of notice to the Class constitutes valid, due and sufficient notice to the Class,

constitutes the best notice practicable under the circumstances, and complies fully with the

requirements of Federal Rule of Civil Procedure 23.


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                b.      Class Counsel, in their motion to direct notice to the Class, shall seek an

order authorizing and ordering the Notice and Claims Administrator (a) to request from any

third-party payor that timely and validly excludes itself from the Certified Class identification of

those plans that the entity seeks to exclude and for entities that purport to exclude entities for

which their authority to do so is not readily apparent—including insurers purporting to exclude

employer plans for which the insurer provides administrative services—documentation and

declarations supporting any purported claim to have authority to opt-out other entities; and (b) to

submit a report and recommendation (“Exclusion Report and Recommendation”) to the Court

setting forth (i) its ability to validate the existence of such entities’ authority to exclude other

class members from the Certified Class, (ii) its findings as to the scope and market shares of any

opt-outs for purposes of determining whether the threshold has been met for terminating the

agreement pursuant to ¶ 31(d), and (iii) any other issues that may arise during its investigation.

                c.      Class Counsel shall provide Defendant with a draft proposed Notice Order

and proposed form of notice (including the proposed Proof of Claim and Release) seven days in

advance of filing, and shall consider in good faith any concerns or suggestions expressed by

Defendant. Class counsel shall provide Defendant with a draft of its motion for entry of the

Notice Order, together with any accompanying memorandum, three days in advance of filing,

and shall consider in good faith any concerns or suggestions expressed by Defendant.

                d.      Defendant shall be responsible for providing all notices required by the

Class Action Fairness Act of 2005 to be provided to state attorneys general or to the United

States of America.

        5.      Motion for Final Approval and Entry of Final Judgment. Not less than thirty-

five (35) days prior to the date set by the Court to consider whether this Settlement should be

finally approved pursuant to Federal Rule of Civil Procedure 23(e)(2), Class Counsel shall

submit a motion for final approval (“Final Approval”) of the Settlement by the Court. Class

Counsel shall provide Defendant with a draft proposed motion for Final Approval of the


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Settlement by the Court (including any accompanying memorandum) seven days in advance of

filing, and shall consider in good faith any concerns or suggestions expressed by Defendant.

Class Counsel shall also provide Defendant with draft proposed order or orders, seven days in

advance of filing. The Settling Parties shall jointly agree on the content of the proposed

Judgment and shall jointly seek entry of the final approval order (“Final Approval Order”) and

Judgment, subject to ¶ 12:

               a.      fully and finally approving the Settlement contemplated by this

Agreement and its terms as being fair, reasonable and adequate within the meaning of Federal

Rule of Civil Procedure 23 and directing its consummation pursuant to its terms and conditions;

               b.      finding that the notice given to the Class Members constituted the best

notice practicable under the circumstances and complies in all respects with the requirements of

Federal Rule of Civil Procedure 23 and due process;

               c.      directing that the Action be dismissed with prejudice as to Defendant and,

except as provided for herein, without costs;

               d.      discharging and releasing the Releasees from all Released Claims;

               e.      permanently barring and enjoining the institution and prosecution, by

Plaintiffs and Class Members, of any other action against the Releasees in any court asserting

any claims related in any way to the Released Claims;

               f.      reserving continuing and exclusive jurisdiction over the Settlement,

including all future proceedings concerning the administration, consummation and enforcement

of this Agreement;

               g.      determining pursuant to Federal Rule of Civil Procedure 54(b) that there is

no just reason for delay and directing entry of a final judgment as to Defendant; and

               h.      containing such other and further provisions consistent with the terms of

this Agreement to which the parties expressly consent in writing.

       Class Counsel also will request that the Court approve the proposed Distribution Plan and


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application for attorneys’ fees and reimbursement of expenses and service awards (as described

below).

       C.      Releases
       6.      Released Claims. Upon the Effective Date, the Releasors (regardless of whether

any such Releasor ever seeks or obtains any recovery by any means, including, without

limitation, by submitting a Proof of Claim and Release, or by seeking any distribution from the

Gross Settlement Fund) shall be deemed to have, and by operation of the Judgment shall have

fully, finally and forever released, relinquished and discharged all Released Claims against the

Releasees.

       7.      No Future Actions Following Release. The Releasors shall not, after the

Effective Date, seek (directly or indirectly) to commence, institute, maintain or prosecute any

suit, action or complaint or collect from or proceed against Defendant or any other Releasee

(including pursuant to the Action) based on the Released Claims in any forum worldwide,

whether on his, her or its own behalf or as part of any putative, purported or certified class of

purchasers or consumers.

       8.      Covenant Not to Sue. Releasors hereby covenant not to sue the Releasees with

respect to any such Released Claims. Releasors shall be permanently barred and enjoined from

instituting, commencing or prosecuting against the Releasees any claims related to the Released

Claims. The Settling Parties contemplate and agree that this Agreement may be pleaded as a bar

to a lawsuit, and an injunction may be obtained, preventing any action from being initiated or

maintained in any case sought to be prosecuted on behalf of any Releasors with respect to the

Released Claims.

       9.      Waiver of California Civil Code § 1542 and Similar Laws. The Releasors

acknowledge that, by executing this Agreement, and for the consideration received hereunder, it

is their intention to release, and they are releasing, all Released Claims, even Unknown Claims.

In furtherance of this intention, the Releasors expressly waive and relinquish, to the fullest extent


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permitted by law, any rights or benefits conferred by the provisions of California Civil Code

§ 1542, as set forth in ¶ 1(bb), or equivalent, similar or comparable laws or principles of law. The

Releasors acknowledge that they have been advised by Class Counsel of the contents and effects

of California Civil Code § 1542, and hereby expressly waive and release with respect to the

Released Claims any and all provisions, rights and benefits conferred by California Civil Code

§ 1542 or by any equivalent, similar or comparable law or principle of law in any jurisdiction.

The Releasors may hereafter discover facts other than or different from those which they know

or believe to be true with respect to the subject matter of the Released Claims, but the Releasors

hereby expressly waive and fully, finally and forever settle and release any known or unknown,

suspected or unsuspected, foreseen or unforeseen, asserted or unasserted, contingent or non-

contingent, and accrued or unaccrued claim, loss or damage with respect to the Released Claims,

whether or not concealed or hidden, without regard to the subsequent discovery or existence of

such additional or different facts. The release of unknown, unanticipated, unsuspected,

unforeseen, and unaccrued losses or claims in this paragraph is not a mere recital.

       10.     Claims Excluded from Release. Notwithstanding the foregoing, the releases

provided herein shall not release claims of Persons that are outside the Class; claims not arising

from the purchase of, payment for or reimbursement for generic enoxaparin or Lovenox®;

claims against Defendant for product liability, breach of contract, or personal injury; or claims to

enforce the terms of this Agreement.

       D.      Settlement Fund
       11.     Settlement Payment. Defendant shall pay the Settlement Amount in

consideration of the covenants, agreements and releases set forth herein, and Defendant and

Class Counsel agree that the Settlement Amount does not exceed that portion of the actual

damages claimed by Plaintiffs on behalf of the Class. Defendant shall pay by wire transfer

$200,000 into an escrow account at the Escrow Agent (the “Escrow Account”) pursuant to

mutually agreeable escrow instructions within five (5) business days after the entry of the Notice


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Order. Defendant shall pay by wire transfer the balance of the Settlement Amount into the

Escrow Account pursuant to mutually agreeable escrow instructions as follows: (1) within five

(5) business days after the entry of the Final Approval Order (“First Payment Date”), Defendant

shall pay fourteen million, eight hundred thousand U.S. Dollars ($14,800,000) (despite the fact

that the order is not “final” as defined in ¶ 1(l)) (“First Payment”); and (2) within the later of two

hundred and seventy (270) calendar days of the Execution Date or five (5) business days after the

Final Approval Order has been entered (“Second Payment Date”), Defendant shall pay twenty

million U.S. Dollars ($20,000,000) (“Second Payment”). The Settlement Amount constitutes the

total amount of payment that Defendant is required to make in connection with this Settlement

Agreement. This amount shall not be subject to reduction, and upon the occurrence of the

Effective Date, no funds may be returned to Defendant.

       12.     Entry of Judgment; Failure to Make Second Payment. If Final Approval is

granted, the Settling Parties shall mutually agree on the timing of the submission and entry of the

Judgment; except that in no event shall it be submitted later than five (5) business days after the

Defendant has made both the First and Second Payment. The Settling Parties may by agreement

submit the proposed Judgment before the Second Payment has been made. If Defendant fails to

make the Second Payment by the Second Payment Date, the Settling Parties shall promptly meet

and confer. Following the meet and confer, if Plaintiffs elect not to terminate the Agreement,

Plaintiffs may request, and Judge Crenshaw may issue based on his determination of the merits,

a judgment against Defendant in this action for any claim arising from the Agreement. The

Settling Parties agree that Judge Crenshaw may issue the judgment on application by the

Plaintiffs; followed by a response by Defendant within five (5) business days; followed by a

reply by Plaintiffs within three (3) business days. The Settling Parties further agree that Judge

Crenshaw may decide the matter on the papers without a hearing. Defendant expressly waives

the right to motion practice and discovery under the Federal Rules and also expressly waives its




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right, if any, to a jury trial. The Settling Parties submit to the jurisdiction of this Court as

described in ¶ 40.

        13.     Disbursements Prior to Effective Date. No amount may be disbursed from the

Gross Settlement Fund unless and until the Effective Date, except that: (a) Notice and

Administrative Costs, which may not exceed two hundred thousand U.S. Dollars ($200,000)

prior to entry of the Final Approval Order and may not exceed four hundred thousand U.S.

Dollars ($400,000) in total, may be paid from the Gross Settlement Fund as they become due; (b)

Taxes and Tax Expenses (as defined in ¶ 17(f) below) may be paid from the Gross Settlement

Fund, as they become due; and (c) attorneys’ fees and reimbursement of litigation costs and

expenses may be paid, as may be ordered by the Court after Final Approval (and may be

disbursed during the pendency of any appeals which may be taken from the Judgment or Final

Approval Order).

        14.     Refund by Escrow Agent. If the Settlement as described herein is finally

disapproved by any court, or it is terminated as provided herein, or the Judgment is finally

overturned on appeal or by writ, the Gross Settlement Fund, including the Settlement Amount

and all interest earned on the Settlement Amount while held in escrow, excluding only Notice

and Administrative Costs, Taxes and Tax Expenses (as defined herein), shall be refunded,

reimbursed and repaid by the Escrow Agent to Defendant within five (5) business days after

receiving notice pursuant to ¶ 35 below. The Escrow Administrator shall be responsible for

filing for refund within ten (10) business days of any Taxes paid from the Gross Settlement Fund

and providing the refund to Defendant within ten (10) business days of receipt of the refund.

        15.     Refund by Class Counsel. If the Settlement as described herein is finally

disapproved by any court, or it is terminated as provided herein, or the Judgment is overturned

on appeal or by writ, any attorneys’ fees and costs previously paid pursuant to this Agreement

shall be refunded, reimbursed and repaid by Class Counsel to Defendant within thirty (30)

business days after receiving notice pursuant to ¶ 35 below.


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       16.     No Additional Payments by Defendant. Under no circumstances will Defendant

be required to pay more than the Settlement Amount pursuant to this Agreement and the

Settlement set forth herein. For purposes of clarification, the payment of Taxes (as set out in ¶

17(f) below), any Fee and Expense Award (as defined in ¶ 25 below), the Notice and

Administrative Costs, service awards if any, and any other costs associated with the

implementation of this Settlement Agreement shall be exclusively paid from the Settlement

Amount.

       17.     Escrow Account & Taxes.

               a.      Plaintiffs shall arrange for the Escrow Account to be established at

Citibank, with such bank serving as the Escrow Agent subject to an escrow agreement mutually

acceptable to Class Counsel and Defendant, such escrow to be administered under the Court’s

continuing supervision and control.

               b.      The Escrow Agent shall cause the funds deposited in the Escrow Account

to be invested in short-term instruments backed by the full faith and credit of the United States

Government or fully insured in writing by the United States Government, or money market funds

rated Aaa and AAA, respectively by Moody’s Investor Services and Standard and Poor’s,

invested in such instruments, or an interest bearing deposit account, insured by the Federal

Deposit Insurance Corporation (“FDIC”) to the applicable limits, and shall reinvest any income

from these instruments and the proceeds of these instruments as they mature in similar

instruments at their then current market rates.

               c.      All funds held in the Escrow Account shall be deemed and considered to

be in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until

such time as such funds shall be distributed pursuant to this Agreement and/or further order(s) of

the Court.

               d.      The Settling Parties and the Escrow Agent agree to treat the Gross

Settlement Fund as being at all times a “qualified settlement fund” within the meaning of Treas.


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Reg. § 1.468B-1. The Escrow Agent shall timely make such elections as necessary or advisable

to carry out the provisions of this paragraph, including the “relation-back election” (as defined in

Treas. Reg. § 1.468B-1) back to the earliest permitted date. Such elections shall be made in

compliance with the procedures and requirements contained in such regulations. It shall be the

responsibility of the Escrow Agent to prepare and deliver timely and properly the necessary

documentation for signature by all necessary parties, and thereafter to cause the appropriate

filing to occur.

                   e.   For the purpose of § 468B of the Internal Revenue Code of 1986, as

amended, and the regulations promulgated thereunder, the “administrator” shall be Miller Kaplan

Arase LLP (the “Escrow Administrator”). The Escrow Administrator shall satisfy the

administrative requirements imposed by Treas. Reg. § 1.468B-2 by, e.g., (i) obtaining a taxpayer

identification number, (ii) satisfying any information reporting or withholding requirements

imposed on distributions from the Gross Settlement Fund, and (iii) timely and properly filing

applicable federal, state and local tax returns necessary or advisable with respect to the Gross

Settlement Fund (including, without limitation, the returns described in Treas. Reg. § 1.468B-

2(k)) and paying any taxes reported thereon. Such returns (as well as the election described in

this paragraph) shall be consistent with the provisions of this paragraph and in all events shall

reflect that all Taxes as defined in ¶ 17(f) below on the income earned by the Gross Settlement

Fund shall be paid out of the Gross Settlement Fund as provided in ¶ 19 hereof.

                   f.   The following shall be paid out of the Gross Settlement Fund: (i) all taxes

(including any estimated taxes, interest or penalties) arising with respect to the income earned by

the Gross Settlement Fund, including, without limitation, any taxes or tax detriments that may be

imposed upon Defendant, their counsel or any Releasee with respect to any income earned by the

Gross Settlement Fund for any period during which the Gross Settlement Fund does not qualify

as a “qualified settlement fund” for federal or state income tax purposes (collectively, “Taxes”);

and (ii) all expenses and costs incurred in connection with the operation and implementation of


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this paragraph, including, without limitation, expenses of tax attorneys and/or accountants

(including the Escrow Administrator) and mailing and distribution costs and expenses relating to

filing (or failing to file) the returns described in this paragraph (collectively, “Tax Expenses”).

               g.      In all events neither Defendant nor any other Releasee nor their counsel

shall have any liability or responsibility for the Taxes or the Tax Expenses. With funds from the

Gross Settlement Fund, the Escrow Agent shall indemnify and hold harmless Defendant and any

other Releasee and their counsel for Taxes and Tax Expenses (including, without limitation,

Taxes payable by reason of any such indemnification). Further, Taxes and Tax Expenses shall be

treated as, and considered to be, a cost of administration of the Gross Settlement Fund and shall

timely be paid by the Escrow Agent out of the Gross Settlement Fund without prior order from

the Court, and the Escrow Agent shall be obligated (notwithstanding anything herein to the

contrary) to withhold from distribution to Authorized Claimants any funds necessary to pay such

amounts, including the establishment of adequate reserves for any Taxes and Tax Expenses (as

well as any amounts that may be required to be withheld under Treas. Reg. §1.468B-2(1)(2));

neither Defendant nor any Releasee nor their counsel is responsible therefor, nor shall they have

any liability therefor. The Settling Parties agree to cooperate with the Escrow Agent, each other,

their tax attorneys and their accountants to the extent reasonably necessary to carry out the

provisions of this paragraph.

       E.      Administration and Distribution of Gross Settlement Fund
       18.     Time to Appeal. The time to appeal from Final Approval of the Settlement shall

commence upon the Court’s entry of the Judgment regardless of whether or not either the

Distribution Plan or an application for attorneys’ fees and expenses has been submitted to the

Court or resolved.

       19.     Distribution of Gross Settlement Fund. Upon further orders of the Court, the

Notice and Claims Administrator, subject to such supervision and direction of the Court and/or

Class Counsel as may be necessary or as circumstances may require, shall administer the claims


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submitted by members of the Class and shall oversee distribution of the Gross Settlement Fund,

including distribution of the Net Settlement Fund to Authorized Claimants pursuant to the

Distribution Plan. Subject to the terms of this Agreement and any order(s) of the Court, the Gross

Settlement Fund shall be applied as follows:

               a.      To pay all costs and expenses reasonably and actually incurred in

connection with providing notice to the Class in connection with administering and distributing

the Net Settlement Fund to Authorized Claimants, and in connection with paying escrow fees

and costs, if any;

               b.      To pay all costs and expenses, if any, reasonably and actually incurred in

soliciting claims and assisting with the filing and processing of such claims;

               c.      To pay the Taxes and Tax Expenses as defined herein;

               d.      To pay any Fee and Expense Award that is allowed by the Court, subject

to and in accordance with the Agreement; and

               e.      To distribute the balance of the Net Settlement Fund to Authorized

Claimants as allowed by the Agreement, any Distribution Plan or order of the Court.

       20.     Distribution of Net Settlement Fund. Upon the Effective Date and thereafter,

and in accordance with the terms of this Agreement, the Distribution Plan and such further

approval and further order(s) of the Court as may be necessary or as circumstances may require,

the Net Settlement Fund shall be distributed to Authorized Claimants, subject to and in

accordance with the following:

               a.      Each member of the Class who claims to be an Authorized Claimant shall

be required to submit to the Notice and Claims Administrator a completed Proof of Claim and

Release in such form as shall be approved by the Court;

               b.      Except as otherwise ordered by the Court, each member of the Class who

fails to submit a Proof of Claim and Release within such period as may be ordered by the Court,




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or as otherwise allowed, shall be forever barred from receiving any payments pursuant to this

Agreement and the Settlement set forth herein;

                c.     The Net Settlement Fund shall be distributed to Authorized Claimants

substantially in accordance with a Distribution Plan to be approved by the Court. Any such

Distribution Plan is not a part of this Agreement. No funds from the Net Settlement Fund shall be

distributed to Authorized Claimants until after the Effective Date; and

                d.     All Class Members shall be subject to and bound by the provisions of this

Agreement, the releases contained herein, and the Judgment with respect to all Released Claims,

regardless of whether such Persons seek or obtain by any means, including, without limitation,

by submitting a Proof of Claim and Release or any similar document, any distribution from the

Gross Settlement Fund or the Net Settlement Fund.

       21.      No Liability for Distribution of Settlement Funds. Neither the Releasees nor

their counsel shall have any responsibility for, interest in or liability whatsoever with respect to

the distribution of the Gross Settlement Fund; the Distribution Plan; the determination,

administration or calculation of claims; the Gross Settlement Fund’s qualification as a “qualified

settlement fund”; the payment or withholding of Taxes or Tax Expenses; the distribution of the

Net Settlement Fund; or any losses incurred in connection with any such matters. The Releasors

hereby fully, finally and forever release, relinquish and discharge the Releasees and their counsel

from any and all such liability. No Person shall have any claim against Class Counsel or the

Notice and Claims Administrator based on the distributions made substantially in accordance

with the Agreement and the Settlement contained herein, the Distribution Plan or further orders

of the Court.

       22.      Balance Remaining in Net Settlement Fund. If there is any balance remaining

in the Net Settlement Fund (whether by reason of tax refunds, uncashed checks or otherwise),

Class Counsel may reallocate such balance among Authorized Claimants in an equitable and

economic fashion, distribute remaining funds through cy pres, or allow the money to escheat to


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federal or state governments, subject to Court approval. Except as provided in ¶ 35, in no event

shall the Net Settlement Fund revert to Defendant.

       23.     Distribution Plan Not Part of Settlement. It is understood and agreed by the

Settling Parties that any Distribution Plan, including any adjustments to any Authorized

Claimant’s claim, is not a part of this Agreement and is to be considered by the Court separately

from the Court’s consideration of the fairness, reasonableness and adequacy of the Settlement set

forth in this Agreement, and any order or proceedings solely relating to the Distribution Plan

shall not operate to terminate or cancel this Agreement or affect the finality of the Judgment, the

Final Approval Order, or any other orders entered pursuant to this Agreement. The time to

appeal from Final Approval of the Settlement shall commence upon the Court’s entry of the

Judgment regardless of whether either the Distribution Plan or an application for attorneys’ fees

and expenses has been submitted to the Court or approved.

       F.      Attorneys’ Fees and Reimbursement of Expenses
       24.     Fee and Expense Application. Class Counsel may submit an application or

applications (the “Fee and Expense Application”) for distributions from the Gross Settlement

Fund for: (a) an award of attorneys’ fees; plus (b) reimbursement of expenses incurred in

connection with prosecuting the Action; plus (c) any interest on such attorneys’ fees and

expenses (until paid) at the same rate and for the same periods as earned by the Gross Settlement

Fund, as appropriate, and as may be awarded by the Court. The Fee and Expense Application

may also seek Court approval for service awards to Plaintiffs to compensate them for their

contributions to this Action. The proposed service awards shall be in addition to any monetary

award to Plaintiffs under the Distribution Plan, and are subject to Court approval.

       25.     Payment of Fee and Expense Award. Any amounts that are awarded by the

Court pursuant to the above paragraph (the “Fee and Expense Award”) shall be paid from the

Gross Settlement Fund consistent with the provisions of this Agreement.




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        26.     Award of Fees and Expenses Not Part of Settlement. The procedure for, and

the allowance or disallowance by the Court of, the Fee and Expense Application are not part of

the Settlement set forth in this Agreement, and are to be considered by the Court separately from

the Court’s consideration of the fairness, reasonableness and adequacy of the Settlement set forth

in this Agreement. Any order or proceeding solely relating to the Fee and Expense Application,

including any appeal from any Fee and Expense Award or any other order relating thereto or

reversal or modification thereof, shall not operate to terminate or cancel this Agreement, or affect

or delay the finality of the Judgment and the Settlement of the Action as set forth herein. No

order of the Court or modification or reversal on appeal of any order of the Court solely

concerning any Fee and Expense Award or Distribution Plan shall constitute grounds for

cancellation or termination of this Agreement.

        27.     No Liability for Fees and Expenses of Class Counsel. Neither the Releasees nor

their counsel shall have any responsibility for or liability whatsoever with respect to any

payment(s) to Class Counsel pursuant to this Agreement and/or to any other Person who may

assert some claim thereto or any Fee and Expense Award that the Court may make in the Action,

other than as set forth in this Agreement.

        G.      Conditions of Settlement, Effect of Disapproval, Cancellation or Termination
        28.     Effective Date. The Effective Date of this Agreement shall be conditioned on the

occurrence of all of the following events:

                a.      Defendant no longer has any right under ¶¶ 31-35 to terminate this

Agreement or, if Defendant does have such right, it has given written notice to Class Counsel

that it will not exercise such right;

                b.      Plaintiffs no longer have any right under ¶¶ 31-35 to terminate this

Agreement or, if Plaintiffs do have such right, they have given written notice to Defendant that

they will not exercise such right;




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               c.      the Court has finally approved the Settlement as described herein,

following notice to the Class and a hearing, as prescribed by Rule 23 of the Federal Rules of

Civil Procedure, and has entered the Judgment; and

               d.      the Judgment has become Final.

       29.     Occurrence of Effective Date. Upon the occurrence of all of the events

referenced in the above paragraph, any and all remaining interest or right of Defendant in or to

the Gross Settlement Fund, if any, shall be absolutely and forever extinguished, and the Gross

Settlement Fund (less any Notice and Administrative Costs, Taxes, Tax Expenses or Fee and

Expense Award paid) shall be transferred from the Escrow Agent to the Notice and Claims

Administrator as successor Escrow Agent within ten (10) days after the Effective Date.

       30.     Failure of Effective Date to Occur. If any of the conditions specified in ¶ 28 are

not met, then this Agreement shall be cancelled and terminated, subject to and in accordance

with ¶ 35 unless the Settling Parties mutually agree in writing to proceed with this Agreement.

       31.     Exclusions and Rights to Terminate.

               a.      No later than January 10, 2020, Class Counsel shall provide Defendant’s

counsel with a complete and final list of Persons that elected to exclude themselves from the

Certified Class. With the motion for Final Approval of the Settlement, Class Counsel will file

with the Court a complete list of requests for exclusion from the Certified Class (including only

the name, city and state of the person or entity requesting exclusion) and the Exclusion Report

and Recommendation of the Notice and Claims Administrator.

               b.      Either Settling Party may move the Court to adopt or modify the

Exclusion Report and Recommendation. In the absence of a motion to adopt the Exclusion

Report and Recommendation, or a motion by either Settling Party, or any other Person, disputing

it, the Settling Parties agree that the findings of the Notice and Claims Administrator as to the

authority of any entity to exclude claims and the market shares of those Persons that validly

opted out of the Certified Class will be binding on them and serve as the basis for calculating


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whether the termination threshold has been met as set forth in ¶ 31(d) and the Supplemental

Agreement. In the event of a motion pursuant to this subparagraph, or in the event any Person

purports to dispute the findings of the Notice and Claims Administrator contained in the

Exclusion Report and Recommendation, the Settling Parties agree to jointly request an in-person

evidentiary hearing to resolve the matter. If practicable, that hearing may be combined with the

Final Approval Hearing.

               c.       With respect to any member of the Certified Class who requested

exclusion from the Certified Class and is therefore not a member of the Class, Defendant

reserves all of its legal rights and defenses, including, but not limited to, any defenses relating to

whether the member of the Certified Class is an indirect purchaser of generic enoxaparin or

Lovenox® and/or has standing to bring any claim.

               d.      Defendant shall have the option to terminate this Agreement if the

purchases of generic enoxaparin or Lovenox® made by members of the Certified Class who

validly requested exclusion from the Certified Class equal or exceed a threshold that shall be set

by a confidential supplemental agreement (“Supplemental Agreement”), which shall not be filed

on the public docket. In that case, after meeting and conferring with Class Counsel, Defendant

may elect to terminate this Agreement by serving written notice on Class Counsel by email and

overnight courier and by filing a copy of such notice with the Court no later than the later of

fifteen (15) days after receiving the final opt-out list or five (5) days following the Court’s order

resolving any motion(s) regarding the Exclusion Report and Recommendation as set forth in ¶

31(b).

               e.      Plaintiffs, on behalf of the Class, have the right, in their sole discretion, to

terminate this agreement upon the failure of Defendant to make any payment owed under its

terms after meeting and conferring with Defendant. Following such meet and confer, Class

Counsel may elect to terminate this Agreement by serving written notice on Defendant by email

and overnight courier and by filing a copy of such notice with the Court.


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       32.     Objections. Class members who wish to object to any aspect of the Settlement

must file with the Court a written statement containing their objection by the end of the period to

object to the Settlement as set forth in the notice. Any award or payment of attorneys’ fees made

to the counsel of an objector to the Settlement shall only be made by Court order and upon a

showing of the benefit conferred to the Class. In determining any such award of attorneys’ fees

to an objectors’ counsel, the Court will consider the incremental value to the Class caused by any

such objection. Any award of attorneys’ fees by the Court will be conditioned on the objector

and his or her attorney stating under penalty of perjury that no payments shall be made to the

objector based on the objector’s participation in the matter other than as ordered by the Court.

Defendant shall have no responsibility for any such payments.

       33.     Failure to Order Notice to the Class, Final Approval or Judgment. If the

Court does not enter the Notice Order, the Final Approval Order or the Judgment, or if the Court

enters the Final Approval Order and the Judgment and appellate review is sought and, on such

review, the Final Approval Order or the Judgment is finally vacated, modified or reversed, then

this Agreement and the Settlement incorporated therein shall be cancelled and terminated;

provided, however, the Settling Parties agree to act in good faith to secure Final Approval of this

Settlement and to attempt to address in good faith concerns regarding the Settlement identified

by the Court and any court of appeal.

       34.     No Settling Party shall have any obligation whatsoever to proceed under any

terms other than substantially in the form provided and agreed to herein; provided, however, that

no order of the Court solely concerning any Fee and Expense Application or Distribution Plan, or

any modification or reversal on appeal of such order, shall constitute grounds for cancellation or

termination of this Agreement by any Settling Party. Defendant shall have, in its sole and

absolute discretion, the option to terminate the Settlement in its entirety in the event that the

Judgment, upon becoming Final, does not provide for the dismissal with prejudice of all of the

Action against it.


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       35.     Termination. Unless otherwise ordered by the Court, in the event that the

Effective Date does not occur or this Agreement should terminate, or be cancelled or otherwise

fail to become effective for any reason, including, without limitation, in the event that this

Agreement is terminated by either of the Settling Parties pursuant to ¶ 31, the Settlement as

described herein is not finally approved by the Court or the Judgment is finally reversed or

vacated following any appeal taken therefrom, then:

               a.      within five (5) business days after written notification of such event is sent

by counsel for Defendant to the Escrow Agent, the Gross Settlement Fund—including the

Settlement Amount and all interest earned on the Settlement Amount while held in escrow

excluding only Notice and Administrative Costs that have either been properly disbursed or are

due and owing, Taxes and Tax Expenses that have been paid or that have accrued and will be

payable at some later date, and attorneys’ fees and costs that have been disbursed pursuant to

Court order—will be refunded, reimbursed and repaid by the Escrow Agent to Defendant; if said

amount or any portion thereof is not returned within such five (5) day period, then interest shall

accrue thereon at the rate of ten percent (10%) per annum until the date that said amount is

returned;

               b.      within thirty (30) business days after written notification of such event is

sent by counsel for Defendant to Class Counsel, all attorneys’ fees and costs which have been

disbursed to Class Counsel pursuant to Court order shall be refunded, reimbursed and repaid by

Class Counsel to Defendant;

               c.      the Escrow Agent or the Escrow Administrator shall apply for any tax

refund owed to the Gross Settlement Fund and pay the proceeds to Defendant, after deduction of

any fees or expenses reasonably incurred in connection with such application(s) for refund,

pursuant to such written request;




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               d.      the Settling Parties shall be restored to their respective positions in the

Action as of the Execution Date, with all of their respective claims and defenses preserved as

they existed on that date;

               e.      the terms and provisions of this Agreement, with the exception of ¶¶ 13-

15, 17, 27, 28, 30, 33-35, 37-38, 40-41, 43-50, 52 (which shall continue in full force and effect),

shall be null and void and shall have no further force or effect with respect to the Settling Parties,

and neither the existence nor the terms of this Agreement (nor any negotiations preceding this

Agreement nor any acts performed pursuant to, or in furtherance of, this Agreement) shall be

used in the Action or in any other action or proceeding for any purpose (other than to enforce the

terms remaining in effect); and

               f.      any judgment or order entered by the Court in accordance with the terms

of this Agreement shall be treated as vacated, nunc pro tunc.

       H.      No Admission of Liability
       36.     Final and Complete Resolution. The Settling Parties intend the Settlement as

described herein to be a final and complete resolution of all disputes between them with respect

to the Action and Released Claims and to compromise claims that are contested, and it shall not

be deemed an admission by any Settling Party as to the merits of any claim or defense or any

allegation made in the Action.

       37.     Federal Rule of Evidence 408. The Settling Parties agree that this Agreement, its

terms and the negotiations surrounding this Agreement shall be governed by Federal Rule of

Evidence 408 and shall not be admissible or offered or received into evidence in any suit, action

or other proceeding, except as provided in this Agreement, upon the written agreement of the

Settling Parties hereto, pursuant to an order of a court of competent jurisdiction, or as shall be

necessary to give effect to, or to declare or enforce the rights of the Settling Parties with respect

to any provision of this Agreement.




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       38.     Use of Agreement as Evidence. Neither this Agreement nor the Settlement, nor

any act performed, statement made, or document executed pursuant to or in furtherance of this

Agreement or the Settlement: (a) is or may be deemed to be or may be used as an admission of,

or evidence of, the validity of any Released Claims, any allegation made in the Action, or any

wrongdoing or liability of Defendant; or (b) is or may be deemed to be or may be used as an

admission of, or evidence of, any liability, fault or omission of the Releasees in any civil,

criminal or administrative proceeding in any court, administrative agency or other tribunal.

Neither this Agreement nor the Settlement, nor any act performed, statement made, or document

executed pursuant to or in furtherance of this Agreement or the Settlement, shall be admissible in

any proceeding for any purpose, except to enforce the terms of the Settlement, and except that

the Releasees may file this Agreement and/or the Judgment in any action for any purpose,

including, but not limited to, in order to support a defense or counterclaim based on principles of

res judicata, collateral estoppel, release, good faith settlement, judgment bar or reduction or any

other theory of claim preclusion or issue preclusion or similar defense or counterclaim. The

limitations described in this paragraph apply whether or not the Court enters the Notice Order,

the Final Approval Order or the Judgment.

       I.      Miscellaneous Provisions
       39.     Voluntary Settlement. The Settling Parties agree that the Settlement Amount and

the other terms of the Settlement as described herein were negotiated in good faith by the

Settling Parties, and reflect a settlement that was reached voluntarily after consultation with

competent legal counsel.

       40.     Consent to Jurisdiction. Defendant and each Class Member hereby irrevocably

submit to the exclusive jurisdiction of the Court only for the specific purpose of any suit, action,

proceeding or dispute arising out of or relating to this Agreement or the applicability of this

Agreement. Solely for purposes of such suit, action or proceeding, to the fullest extent that they

may effectively do so under applicable law, Defendant and the Class Members irrevocably waive


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and agree not to assert, by way of motion, as a defense or otherwise, any claim or objection that

they are not subject to the jurisdiction of the Court or that the Court is in any way an improper

venue or an inconvenient forum. Without limiting the generality of the foregoing, it is hereby

agreed that any dispute concerning the provisions of ¶¶ 6-10 hereof, including but not limited to

any suit, action or proceeding in which the provisions of ¶¶ 6-10 hereof are asserted as a defense

in whole or in part to any claim or cause of action or otherwise raised as an objection, constitutes

a suit, action or proceeding arising out of or relating to this Agreement. In the event that the

provisions of ¶¶ 6-10 hereof are asserted by any Releasee as a defense in whole or in part to any

claim or cause of action or otherwise raised as an objection in any suit, action or proceeding, it is

hereby agreed that such Releasee shall be entitled to a stay of that suit, action or proceeding until

the Court has entered a final judgment no longer subject to any appeal or review determining any

issues relating to the defense or objection based on the provisions of ¶¶ 6-10. Nothing herein

shall be construed as a submission to jurisdiction for any purpose other than any suit, action,

proceeding or dispute arising out of or relating to this Agreement or the applicability of this

Agreement.

       41.     Resolution of Disputes; Retention of Exclusive Jurisdiction. Any disputes

between or among Defendant and any Class Members concerning matters contained in this

Agreement shall, if they cannot be resolved by negotiation and agreement, be submitted to the

Court. The Court shall retain exclusive jurisdiction over the implementation and enforcement of

this Agreement.

       42.     Binding Effect. This Agreement shall be binding upon, and inure to the benefit

of, the successors and assigns of the parties hereto. Without limiting the generality of the

foregoing, each and every covenant and agreement entered into herein by Plaintiffs and Class

Counsel shall be binding upon all Class Members.

       43.     Authorization to Enter Settlement Agreement. The undersigned representative

of Defendant represents that he is fully authorized to enter into and to execute this Agreement on


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behalf of Defendant. Class Counsel, on behalf of Plaintiffs and the Class, represent that they are,

subject to Court approval, expressly authorized to take all action required or permitted to be

taken by or on behalf of the Class pursuant to this Agreement to effectuate its terms and to enter

into and execute this Agreement and any modifications or amendments to the Agreement on

behalf of the Class that they deem appropriate.

       44.     Notices. All notices under this Agreement shall be in writing. Each such notice

shall be given either by (a) e-mail; (b) hand delivery; (c) registered or certified mail, return

receipt requested, postage pre-paid; (d) FedEx or similar overnight courier; or (e) facsimile and

first class mail, postage pre-paid and, if directed to any Class Member, shall be addressed to

Class Counsel at their addresses set forth below, and if directed to Defendant, shall be addressed

to their attorneys at the addresses set forth below or such other addresses as Class Counsel or

Defendant may designate, from time to time, by giving notice to all parties hereto in the manner

described in this paragraph.

       If directed to the Plaintiffs or any Class Member(s), address notice to:

               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
               Brendan P. Glackin (bglackin@lchb.com)
               Katherine Lubin Benson (kbenson@lchb.com)
               275 Battery Street, 29th Floor
               San Francisco, CA 94111-3339
               Telephone: 415-956-1000
               Facsimile:     415-956-1008
       If directed to Defendant, address notice to:

               AXINN, VELTROP & HARKRIDER LLP
               Michael L. Keeley (mkeeley@axinn.com)
               Bradley Justus (bjustus@axinn.com)
               950 F St., NW
               Washington, DC 20004
               Telephone:     (202) 912-4700
               Facsimile:     (202) 912-4701
       45.     Headings. The headings used in this Agreement are intended for the convenience

of the reader only and shall not affect the meaning or interpretation of this Agreement.




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       46.     No Party Deemed to Be the Drafter. None of the parties hereto shall be deemed

to be the drafter of this Agreement or any provision hereof for the purpose of any statute, case

law, rule of interpretation or construction that would or might cause any provision to be

construed against the drafter hereof.

       47.     Choice of Law. This Agreement shall be considered to have been negotiated,

executed and delivered, and to be wholly performed, in the State of New York and the rights and

obligations of the parties to this Agreement shall be construed and enforced in accordance with,

and governed by, the internal, substantive laws of the State of New York without giving effect to

that state’s choice of law principles.

       48.     Amendment; Waiver. This Agreement shall not be modified in any respect

except by a writing executed by Defendant and Class Counsel, and the waiver of any rights

conferred hereunder shall be effective only if made by written instrument of the waiving party.

The waiver by any party of any breach of this Agreement shall not be deemed or construed as a

waiver of any other breach, whether prior, subsequent or contemporaneous, of this Agreement.

       49.     Execution in Counterparts. This Agreement may be executed in one or more

counterparts. All executed counterparts and each of them shall be deemed to be one and the same

instrument. Counsel for the Settling Parties to this Agreement shall exchange among themselves

original signed or scanned counterparts and a complete set of executed counterparts shall be filed

with the Court.

       50.     Integrated Agreement. This Agreement, together with the Supplemental

Agreement, constitutes the entire agreement between the Settling Parties and no representations,

warranties or inducements have been made to any party concerning this Agreement other than

the representations, warranties and covenants contained and memorialized herein. It is

understood by the Settling Parties that, except for the matters expressly represented herein, the

facts or law with respect to which this Agreement is entered into may turn out to be other than or

different from the facts now known to each party or believed by such party to be true. Each party


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therefore expressly assumes the risk of the facts or law turning out to be so different, and agrees

that this Agreement shall be in all respects effective and not subject to Termination by reason of

any such different facts or law. Except as otherwise provided herein, each party shall bear its

own costs and attorneys’ fees.

       51.     Return or Destruction of Confidential Materials. The Settling Parties agree to

comply with the relevant provisions of the Protective Order entered in the Action at the final

conclusion of the Action.

       52.     Confidentiality. The terms of this Settlement shall remain confidential until

Plaintiffs move for an order directing notice to the Class, unless Defendant and Class Counsel

agree otherwise, provided that the Settling Parties may disclose the terms of this Settlement to

accountants, lenders, auditors, legal counsel, tax advisors, or consultants; or as part of any

security or other disclosure required by law (as determined by a Settling Party and its counsel);

or in response to a request by any governmental, judicial, or regulatory authority or otherwise

required by applicable law or court order and Plaintiffs may disclose the terms of the Settlement

to any entity that has applied to serve as Notice and Claims Administrator, Escrow

Administrator, or Escrow Agent, who shall abide by the terms of this paragraph. Any formal

press release by a Settling Party regarding this Settlement prior to entry of the Final Approval

Order shall be shared in advance with the other Settling Party, with a reasonable opportunity for

comments and suggested changes. No such press release shall be made prior to the Plaintiffs

moving for an order directing notice to the Class.

       53.     Duty Not to Encourage Exclusion or Objection. Plaintiffs, Class Counsel, and

Defendant agree that they shall not in any way encourage, promote, or solicit any Person within

the definition of the Certified Class, or their counsel, to request exclusion from the Certified

Class, to object to this Settlement, or to seek any relief inconsistent with this Settlement.




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                   EXHIBIT C




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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


THE HOSPITAL AUTHORITY OF
METROPOLITAN GOVERNMENT OF
NASHVILLE AND DAVIDSON COUNTY,
TENNESSEE, d/b/a NASHVILLE GENERAL
HOSPITAL and AMERICAN FEDERATION OF
STATE, COUNTY AND MUNICIPAL
EMPLOYEES DISTRICT COUNCIL 37 HEALTH                       Civil Action No. 3:15-cv-01100
& SECURITY PLAN,

                   Plaintiffs,                             Chief Judge Waverly D. Crenshaw, Jr.
                                                           Magistrate Judge Barbara D. Holmes
                       v.

MOMENTA PHARMACEUTICALS, INC. and
SANDOZ INC.,

                   Defendants.


                             [PROPOSED] DISTRIBUTION PLAN

       This Distribution Plan will govern distributions from the net proceeds of the settlement

fund created by the settlements in this case with Momenta Pharmaceuticals, Inc., and Sandoz Inc.

dated December 10, 2019 (the “Settlement Agreements”). To receive a distribution, a person or

entity must submit a Proof of Claim and be an Eligible Claimant. If a Claimant is a member of

the Class, then that Claimant’s eligibility to participate in this Distribution Plan, and the amount

of payment the Claimant shall receive (if any), is described below.

I.     Definitions

       If not otherwise defined, terms shall have the meanings used in the Settlement

Agreements.




                                                  1

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       1.      “Class” shall mean:

              Hospitals, third-party payors, and people without insurance who
              indirectly purchased, paid for, and/or reimbursed some or all of the
              purchase price for, generic enoxaparin or Lovenox®, in Arizona,
              Arkansas, California, District of Columbia, Florida, Hawaii,
              Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan,
              Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada,
              New Hampshire, New Mexico, New York, North Carolina, North
              Dakota, Oregon, South Dakota, Tennessee, Utah, Vermont, West
              Virginia, and Wisconsin, from September 21, 2011, through
              September 30, 2015, for the purpose of personal consumption by
              themselves, their families, or their members, employees, insureds,
              participants, patients, beneficiaries or anyone else.

              With respect to third-party payors and people without insurance,
              the Class only includes those, described above, who purchased,
              paid for, and/or reimbursed some or all of the purchase price for,
              generic enoxaparin or Lovenox® from a pharmacy.

              Excluded from the Class are:

              a)     Defendants, their officers, directors, management, employees,
                     subsidiaries, and affiliates;

              b)     Federal and state governmental agencies except for cities, towns,
                     municipalities, counties or other municipal government entities, if
                     otherwise qualified;

              c)     Payors that received 100% reimbursement on all transactions, such
                     as fully insured health plans (i.e., plans that purchased insurance
                     covering 100% of their reimbursement obligation to members);

              d)     Third-party payors and people without insurance who purchased,
                     or paid or reimbursed only for branded Lovenox®, and not generic
                     enoxaparin, from a pharmacy or other retail outlet; and

              e)     Judges assigned to this case and any members of their immediate
                     families.

       2.     “Class States” shall mean: Arizona, Arkansas, California, the District of

Columbia, Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Massachusetts, Michigan, Minnesota,

Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York,




                                               2

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North Carolina, North Dakota, Oregon, South Dakota, Tennessee, Utah, Vermont, West

Virginia, and Wisconsin.

        3.       “Class Period” shall mean from September 21, 2011, through September 30,

2015.

        4.       “Eligible Claimant” shall mean any member of the Class who submits a timely

and valid Proof of Claim and has not excluded him, her, or itself from the Class.

        5.       “Net Settlement Fund” shall mean the combination of the Net Settlement Funds as

defined in each of the Settlement Agreements.

        6.       “Proof of Claim” shall mean the documents titled “Hospital Claim Form,”

“Third-Party Payor Claim Form,” and “Uninsured Consumer Claim Form,” which are available

for download at www.dvtmedslawsuit.com, or by calling 1-800-XXX-XXXX. The timeliness

and validity of a Claimant’s Proof of Claim shall be determined by the Notice and Claims

Administrator.

        7.       “Qualifying Claim” shall mean the amount that the Eligible Claimant paid for

generic enoxaparin or Lovenox® syringes in the Class States during the Class Period, net of any

rebates, returns, discounts, chargebacks, refunds, or other appropriate offsets (as determined by

the Notice and Claims Administrator).

II.     Calculation of Distribution

        Each Eligible Claimant’s share of the Net Settlement Fund shall be calculated based on

its share of total branded Lovenox® and generic enoxaparin claims (in dollars) in the Retail and

Non-Retail Channels. The “Retail Channel” means claims related to purchases of generic

enoxaparin or Lovenox® from a pharmacy during the Class Period. The “Non-Retail Channel”

means claims related to purchases of generic enoxaparin or Lovenox® by a hospital during the

Class Period.
                                                 3

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       The Net Settlement Fund shall be allocated as follows to claims based on Retail and Non-

Retail Class purchases of branded Lovenox and generic Enoxaparin:

                                 Retail Channel Non-Retail Channel
                         Brand        2.9%           20.1%
                         Generic     58.7%           18.3%


       For each of the four allocation categories (Retail-Brand, Retail-Generic, Non-Retail-

Brand, and Non-Retail-Generic), each Claimant’s Share shall be calculated as the ratio of (a) the

amount of the Claimant’s Qualifying Claim attributable to that category to (b) the total of all

amounts of all Qualifying Claims attributable to that category. Thus, the payment for an Eligible

Claimant n shall be calculated using the following formula:

(Claimantn Retail-Brand Share x (Net Settlement Fund x 2.9%)) +

(Claimantn Retail-Generic Share x (Net Settlement Fund x 58.7%)) +

(Claimantn Non-Retail-Brand Share x (Net Settlement Fund x 20.1%)) +

(Claimantn Non-Retail-Generic Share x (Net Settlement Fund x 18.3%))

       If the initial proposed distribution to an allocation category would result in the Claimants

in that category receiving more than the amount that they paid for branded Lovenox or generic

enoxaparin, then the amount initially allocated to that category that is in excess of those

Claimants’ collective payments shall be divided proportionally between remaining allocation

categories.

III.   Administration.

       All determinations under this Plan of Allocation shall be made by the Notice and Claims

Administrator, subject to review by Class Counsel and approval by the Court. In instances

where a claimant has provided incomplete information regarding the bases for its claims, the

Claims Administrator shall have authority to adjudicate disputes or otherwise determine

                                                 4

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appropriate allocation for the claimant based on available information, subject to review by the

Court.

Dated: December 20, 2019                 Respectfully submitted,

                                         /s/ Brendan P. Glackin
                                         Brendan P. Glackin (pro hac vice)
                                         Dean M. Harvey (pro hac vice)
                                         Bruce W. Leppla (pro hac vice)
                                         Katherine Lubin Benson (pro hac vice)
                                         David T. Rudolph (pro hac vice)
                                         Adam Gitlin (pro hac vice)
                                         Michelle A. Lamy (pro hac vice)
                                         Jeremy J. Pilaar (pro hac vice)
                                         LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                         275 Battery Street, 29th Floor
                                         San Francisco, CA 946111-3339
                                         Telephone: (415) 956-1000
                                         Facsimile: (415) 956-1008

                                         Mark P. Chalos (TN State Bar No. 19328)
                                         Andrew R. Kaufman (TN State Bar No. 33864)
                                         LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
                                         222 Second Avenue, Suite 1640
                                         Nashville, TN 37201
                                         Telephone: (615) 313-9000
                                         Facsimile: (615) 313-9965

                                         Class Counsel on Behalf of Class Representatives
                                         Nashville General and DC 37 and the Class

                                         John T. Spragens (TN State Bar No. 31445)
                                         SPRAGENS LAW PLC
                                         1200 16th Ave. S.
                                         Nashville, TN 37212
                                         Telephone: (615) 983-8900
                                         Facsimile: (615) 682-8533

                                         Additional Counsel for Class Representatives




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of December, 2019, the foregoing document was

filed electronically with the U.S. District Court for the Middle District of Tennessee. Notice of

this filing was served via the court’s electronic filing system on counsel listed below:

Timothy L. Warnock (TN Bar No. 12844)              R. Dale Grimes (TN Bar No. 6223)
Stuart A. Burkhalter (TN Bar No. 29078)            Virginia M. Yetter (TN Bar No. 31471)
RILEY WARNOCK & JACOBSON, PLC                      BASS, BERRY & SIMS PLC
1906 West End Avenue                               150 Third Avenue South, Suite 2800
Nashville, TN 37203                                Nashville, TN 37201
Telephone: (615) 320-3700                          Telephone: (615) 742-6200
Facsimile: (615) 320-3737
                                                   Jason T. Murata (pro hac vice)
Matthew D. Kent (pro hac vice)                     Brooke Jones Oppenheimer (pro hac vice)
Liz Brodway Brown (pro hac vice)                   Thomas G. Rohback (pro hac vice)
D. Andrew Hatchett (pro hac vice)                  AXINN, VELTROP & HARKRIDER LLP
Michael P. Kenny (pro hac vice)                    90 State House Square
Anthony Thomas Greene (pro hac vice)               Hartford, CT 06103
Kara F. Kennedy (pro hac vice)                     Telephone: (860) 275-8100
ALSTON & BIRD LLP                                  Facsimile: (860) 275-8101
One Atlantic Center
1201 West Peachtree Street                         Carmel Rana Arikat (pro hac vice)
Atlanta, GA 30309-3424                             Richard B. Dagen (pro hac vice)
Telephone: (404) 881-7000                          Bradley D. Justus (pro hac vice)
Facsimile: (404) 881-7777                          Michael L. Keeley (pro hac vice)
                                                   Daniel K. Oakes (pro hac vice)
Teresa T. Bonder (pro hac vice)                    Jetta C. Sandin (pro hac vice)
Nell G. Moley (pro hac vice)                       AXINN, VELTROP & HARKRIDER LLP
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560 Mission Street, Suite 2100                     Telephone: (202) 912-4700
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                                                   Varnitha Siva (pro hac vice)
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                                   CERTIFICATE OF SERVICE

            I hereby certify that on the 20th day of December, 2019, the foregoing document was

filed electronically with the U.S. District Court for the Middle District of Tennessee. Notice of

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